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 1                               United States District Court
 2                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3

 4

 5         UNITED STATES OF AMERICA                   )
                                                      ) Docket Number:
 6                         vs.                        ) 0971 3:14CR00175-001 WHA
                                                      )
 7         PACIFIC GAS AND ELECTRIC                   )
                                                      )
 8                    COMPANY

 9

10                               ORDER FOR DISBURSMENT OF FUNDS

11

12   The United States District Court Clerk, Northern District of California, is ordered to release

13   funds from the Court’s registry account to the City of San Bruno in the amount of $460,883.07.

14

15          August 18, 2020
     Date: ____________________________                   ____________________________________
                                                          William Alsup
16                                                        United States District Judge
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